 

Case 5:20-cr-00040-JA-PRL Document 95 Filed 02/02/21 Page 1 of 1 PagelD 259

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

UNITED STATES OF AMERICA

VS. CASE NO. 5:20-cr-40-Oc-JA-PRL
JOSEPH SAMUEL CATALANO

 

ORDER
THIS CAUSE is before the Court on the Defendant's Motion for

Permission to Wear Civilian Clothes at Sentencing and Motion for Release from
Custody Before Sentencing Based Upon a Change in Circumstances (Doc. No.
94, filed February 1, 2021).

Upon consideration of the above, it is ORDERED that the Government
shall respond to the Motion by February 7, 2021!

DONE and ORDERED in Orlando, Florida, on February z\2021.

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JOHN ANTOON II

United States District Judge
Copies furnished to: ‘

United States Attorney

United States Probation Office

United States Pretrial Services Office

Counsel for Defendant

 

1 Defendant’s Motion is requesting that he be released from custody on February
8, 2021.

 
